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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

LIMA ONE CAPITAL SPECIAL                     )
SERVICING, INC., a Delaware                  )
corporation,                                 )
                                             ) CIVIL ACTION FILE NO.
       Plaintiff,                            )
                                             ) 1:18-CV-04070-MLB
v.                                           )
                                             )
E.S. REAL ESTATE CONSORTIUM,                 )
CORP., a Georgia corporation;                )
CONSORTIUM TITLE, LLC, a Virginia            )
limited liability company; INTEGRITY         )
SETTLEMENT SERVICES, LLC, a                  )
Florida limited liability company;           )
ANEAKA ENGLISH, an individual;               )
CASITA SIMPSON, an individual; and           )
COLEEN THOMAS, an individual,                )
                                             )
       Defendants.                           )

INTEGRITY SETTLEMENT SERVICES, LLC’S JOINDER IN E.S. REAL
   ESTATE CONSORTIUM, CORP.’S MOTION TO DISMISS AND
               MEMORANDUM IN SUPPORT

      COMES NOW, Defendant Integrity Settlement Services, LLC (“Integrity”),

by and through its undersigned counsel, and hereby joins, incorporates and adopts

E.S. Real Estate Consortium Corp.’s Motion to Dismiss and Memorandum in

Support (“Motion to Dismiss”) filed on or about October 15, 2018.
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      By joining the Motion to Dismiss, Integrity adopts and incorporates all

arguments, reasoning, and citations to law and fact, as if fully set forth herein, and

respectfully requests the same relief sought by the Motion to Dismiss.

      Respectfully submitted, this __24th__ day of January, 2019.


                                 THE BERNSTEIN FIRM, P.C.


                                 S/ Brenda Joy Bernstein
                                 Brenda J. Bernstein, Georgia Bar No. 054904
                                 THE BERNSTEIN FIRM, P.C.
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                                 Counsel for Integrity Settlement Services, LLC




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             CERTIFICATE OF COMPLIANCE AND SERVICE

      I hereby certify that this filing complies with the requirements of Local Rule

5.1B (Times New Roman, 14 point) and that I have this day served a copy of the

within and foregoing INTEGRITY SETTLEMENT SERVICES, LLC’S JOINDER

IN E.S. REAL ESTATE CONSORTIUM, CORP.’S MOTION TO DISMISS AND

MEMORANDUM IN SUPPORT by electronically filing the same which sends a

notification of filing to counsel of record by the CM/ECF system to:

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                             [signature on next page]

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      So certified, this _24thday of January, 2019.

                                THE BERNSTEIN FIRM, P.C.

                                S/Brenda Joy Bernstein

                                Brenda J. Bernstein, Georgia Bar No. 054904

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